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 4
                                                                  Honorable James L. Robart
 5

 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
                                                        )
10    UNITED STATES OF AMERICA,                         )   NO.   CR15-109JLR
                                                        )
11
            Plaintiff,                                  )   MEMORANDUM IN SUPPORT
12    v.                                                )   OF MOTION IN LIMINE TO LIMIT
                                                        )   TRIBAL JUDGES’ TESTIMONY
13    RAYMOND FRYBERG, JR.,                             )
                                                        )
14          Defendant.                                  )
                                                        )
15

16
                                       INTRODUCTION

17         “Calling a judge to give testimony in any proceeding is a very delicate matter.”

18   United States v. Roth, 332 F. Supp. 2d 565, 568 (S.D.N.Y. 2004) aff'd sub nom. United
19   States v. St. John, 267 F. App'x 17 (2d Cir. 2008). The United States has served trial
20
     subpoenas on two tribal judges with the Northwest Intertribal Court System, Judge Randy
21
     Steckel and Judge Randy Doucet.       After discussing the scope of their anticipated
22
     testimony with the United States Attorney’s Office, Judges Steckel and Doucet move this
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 1   Court to limit their testimony to two topics: (1) authenticating relevant Tulalip Tribal Court
 2
     orders and (2) describing the standard procedures for deciding protection orders in Tribal
 3
     Court. The Judges should offer limited factual testimony.
 4
            Under no circumstances should the parties question the Judges on their mental
 5
     processes in reaching their decisions or the underlying grounds for the orders.
 6
     I.     Statement of Facts
 7

 8          This matter is currently set for trial on September 21, 2015. The United States

 9   Attorney’s Office served trial subpoenas on Judge Randy Steckel and Judge Randy

10   Doucet. Both Judges work for the Northwest Intertribal Courts System and both entered
11
     orders regarding defendant Raymond Fryberg, Jr., in Tulalip Tribal Court.
12
            Judge Steckel entered the initial protective order against defendant in 2002. Judge
13
     Doucet quashed an arrest warrant for defendant and entered judgment and sentence
14
     against defendant in 2012 for violating the 2002 order. The Tulalip Tribe, its court system,
15
     and Judges Steckel and Doucet are not parties to this lawsuit.
16

17          On September 15, 2015, counsel for Judges Steckel and Doucet met with the

18   Assistant United States Attorneys in this case in a good faith effort to comply with the trial

19   subpoenas.      The accompanying proposed Order in Limine is the result of those
20
     negotiations.
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     //
22
     //
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 1                                           ARGUMENT
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     II.    Judges Should Not Be Witnesses
 3
            The Code of Conduct for United States Judges, Canon 2(B) states, “a judge should
 4
     neither lend the prestige of the judicial office to advance the private interests of the judge
 5
     or others nor convey or permit others to convey the impression that they are in a special
 6
     position to influence the judge.” This includes serving as a witness in any proceeding.
 7

 8   Judges Steckel and Doucet do not appear in this matter voluntarily, and will testify only

 9   under subpoena. They object to being called as witnesses.

10          A party has no right to compel a judge to testify why he or she granted an order.
11
            [T]he overwhelming authority from the federal courts in this country,
12          including the United States Supreme Court, makes it clear that a judge may
            not be compelled to testify concerning the mental processes used in
13          formulating official judgments or the reasons that motivated him in the
            performance of his official duties. See e.g. United States v. Morgan, 313
14          U.S. 409, 422, 61 S.Ct. 999, 85 L.Ed. 1429 (1941); Fayerweather v. Ritch,
            195 U.S. 276, 306–07, 25 S.Ct. 58, 49 L.Ed. 193 (1904); Grant v. Shalala,
15          989 F.2d 1332, 1344–45 (3d Cir.1993); Robinson v. Commissioner of
            Internal Revenue, 70 F.3d 34, 38 (5th Cir.1995). “Judges are under no
16
            obligation to divulge the reasons that motivated them in their official acts;
17          the mental processes employed in formulating the decision may not be
            probed.” United States v. Cross, 516 F.Supp. 700, 707 (M.D.Ga.1981),
18          aff'd, 742 F.2d 1279 (11th Cir.1984). In Morgan, the Supreme Court stated
            that allowing an examination of a judge's mental processes would be
19          “destructive of judicial responsibility” and such scrutiny cannot be permitted.
            Morgan, 313 U.S. at 422, 61 S.Ct. 999.
20

21   United States v. Roth, 332 F.Supp.2d at 567. Neither the United States nor defendant

22   Fryberg may question Judges Steckel and Doucet on the grounds for their decisions or

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 1   why the ruled a particular way. Any legal questions to the Judges would be improper and
 2
     objectionable.
 3
           Despite these restrictions, under extremely limited circumstances, this Court may
 4
     compel the Judges to present factual testimony.
 5
           Judge Gordon possessed factual knowledge that was highly pertinent to the
 6         jury's task, and he was the only possible source of testimony on that
           knowledge. To say that the district court abused its discretion by admitting
 7
           the testimony in these circumstances would be tantamount to announcing
 8         a rule that a judge may never testify in criminal proceedings, no matter how
           important his testimony or how well the delicacy of his being called is
 9         handled. The interests of justice would be served poorly indeed by such a
           rule, and we decline its adoption as the law of this circuit. So far as we are
10         aware, no court has even come close to adopting such a position.
11
     United States v. Frankenthal, 582 F.2d 1102, 1108 (7th Cir. 1978).
12
           Citing Frankenthal, the Ross Court articulated a three-part test.
13
           [A] judge may only be required to testify if he (1) possesses factual
14         knowledge, (2) that knowledge is highly pertinent to the jury’s task, and (3)
           is the only possible source of testimony on the relevant factual information.
15
     Ross, 332 F.Supp.2d at 568. Judges Steckel and Doucet request the Court to adopt the
16

17   Ross standard in this case, and to compel their testimony only if it meets this test.

18   Because they do not know the United States’ case, its witnesses, or its evidence, Judges

19   Steckel and Doucet express no opinion on whether they alone possess relevant factual
20
     information. They will respond to the trial subpoenas and follow the orders of this Court.
21
     //
22
     //
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 1                                         CONCLUSION
 2
            Judges Randy Steckel and Randy Doucet respectfully move this Court to limit their
 3
     testimony to authenticating relevant Tulalip Tribal Court documents and to the standard
 4
     process for deciding protection orders in that Court.      If other witnesses provide that
 5
     information at trial, there is no need for their testimony. On the other hand, if no witness
 6
     other than the Judges can testify to that, the Judges recognize this Court’s authority to
 7

 8   compel their testimony.

 9          Respectfully submitted this 16th day of September, 2015,

10                                             BURI FUNSTON MUMFORD, PLLC
11

12                                             By     /s/ Philip Buri
                                                      Philip Buri, WSBA #17637
13                                                    Attorney for Judges Randy Steckel
                                                      and Randy Doucet
14                                                    Philip@BuriFunston.com
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